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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION

 UNITED STATES OF AMERICA,                            CR 16–17–BU–DLC–2

                      Plaintiff,
                                                              ORDER
        vs.

 LARRY DEAN OXENDINE,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on September 13, 2016. Neither party objected

and therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Larry Dean Oxendine’s guilty

plea after Oxendine appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of being a felon in

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possession of firearms in violation of 18 U.S.C. § 922(g)(1) as set forth in Count

VI of the Indictment. In exchange for Defendant’s plea, the United States has

agreed to dismiss Counts I and II of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

74), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Larry Dean Oxendine’s motion to

change plea (Doc. 59) is GRANTED and Larry Dean Oxendine is adjudged guilty

as charged in Count VI of the Indictment.

      DATED this 5th day of October, 2016.




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